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     Daniel J. Gibbons, WSBA #33036                          The Honorable Benjamin H. Settle
 1
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 2   WITHERSPOON ∙ KELLEY
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 6
 7   Attorneys for Defendants Bank of America,
     N.A.; Mortgage Electronic Registration
 8   Systems, Inc.; and Merscorp Holdings, Inc.
 9
10
                                UNITED STATES DISTRICT COURT
11                        WESTERN DISTRICT OF WASHINGTON AT TACOMA
12
13   JEREMY WOLFSON,                                Case No. 3:17-cv-06064-BHS

14                    Plaintiff,
                                                   DEFENDANTS BANK OF AMERICA,
15                                                 N.A. AND MORTGAGE ELECTRONIC
                vs.
16                                                 REGISTRATION SYSTEMS, INC.’S
     BANK OF AMERICA, NATIONAL                     ANSWER TO PLAINTIFF’S FIRST
17   ASSOCIATION, its successors in interest       AMENDED COMPLAINT
18   and/or Assigns; MTC FINANCIAL INC. d/b/a
     TRUSTEE CORPS; MORTGAGE
19   ELECTRONIC REGISTRATION SYSTEMS
     INC; MERSCORP HOLDINGS, INC.;
20
     MAROON HOLDING, LLC;
21   INTERCONTINENTAL EXCHANGE, INC.;
     FIRST MAGNUS FINANCIAL
22   CORPORATION, AN ARIZONA
     CORPORATION
23
     Does # 1-10, inclusive,
24
                      Defendants
25
26
27              Defendants BANK OF AMERICA, N.A, (“BANA”) and MORTGAGE ELECTRONIC

28   REGISTRATION SYSTEMS, INC. (“MERS”) (collectively, “Defendants”), by and through
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 1
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
                                                  422 W. Riverside Avenue, Suite 1100   Phone: 509.624.5265
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     their attorney of record, Daniel J. Gibbons of Witherspoon Kelley, hereby submit their Answer
 1
 2   and affirmative defenses to Plaintiff’s First Amended Complaint (“FAC”). Unless expressly

 3   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
 4
     allegations of the FAC and, on that basis, deny the allegations.
 5
                                         PRELIMINARY NOTES
 6
 7              1.    Answering Paragraph 1 of the FAC, Defendants respond that it contains no

 8   allegations and therefore no response is required.
 9              2.    Answering Paragraph 2 of the FAC, Defendants respond that this paragraph
10
     contains a legal conclusion that does not require a response. To the extent this paragraph requires
11
     a response Defendants are without sufficient knowledge or information to admit or deny the
12
13   allegations and on that basis deny each and every allegation of this paragraph.

14              3.    Answering Paragraph 3 of the FAC, Defendants admit that an Assistant Secretary
15   for MERS executed an Assignment of Deed of Trust relating to the subject Deed of Trust at issue
16
     in this lawsuit. Except as expressly admitted, Defendants deny each and every remaining
17
     allegation of this paragraph.
18
19              4.    Answering Paragraph 4 of the FAC, Defendants respond that it contains no

20   allegations and therefore no response is required. Plaintiff’s purported definition of “the Note” is
21
     vague and unidentifiable because Defendants have not made any such allegation. To the extent a
22
     response is required, Defendants lack sufficient information or knowledge to admit or deny the
23
24   allegations contained therein, and on that basis, deny them.

25              5.    Answering Paragraph 5 of the FAC, Defendants admit that BANA is not a person.
26   Plaintiff’s purported definition of “the Note” is vague and unidentifiable and thus Defendants are
27
     without sufficient information or knowledge to admit or deny the allegations contained in this
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 2
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     paragraph. Except as expressly admitted, Defendants deny each and every remaining allegation
 1
 2   of this paragraph.

 3              6.    Answering Paragraph 6 of the FAC, Plaintiff’s purported definition of “the Note”
 4
     is vague and unidentifiable and thus Defendants are without sufficient information or knowledge
 5
     to admit or deny the allegations contained in this paragraph, and on that basis, deny them.
 6
 7              7.    Answering Paragraph 7 of the FAC, Plaintiff’s purported definition of “the Note”

 8   is vague and unidentifiable and thus Defendants are without sufficient information or knowledge
 9   to admit or deny the allegations contained in this paragraph, and on that basis, deny them.
10
                8.    Answering Paragraph 8 of the FAC, Plaintiff’s allegations are vague and overly
11
     broad and thus Defendants are without sufficient information or knowledge to admit or deny the
12
13   allegations contained in this paragraph, and on that basis, deny them.

14              9.    FAC Paragraph 9, is a legal conclusion to which no response is required. To the
15   extent a response required, Plaintiff’s purported definition of “the Note” is vague and
16
     unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
17
     deny the allegations contained in this paragraph, and on that basis, deny them.
18
19              10.   Defendants deny the allegations alleged in FAC Paragraph 10.

20              11.   Answering Paragraph 11 of the FAC, Defendants specifically deny that MERS
21
     has ever been involved in “robo-signing mortgage documents.” Defendants also deny all other
22
     allegations contained in FAC Paragraph 11.
23
24              12.   Answering Paragraph 12 of the FAC, BANA admits that an Assistant Vice

25   President of BANA signed an Appointment of Successor Trustee relating to the subject loan.
26   Except as expressly admitted, BANA denies each and every remaining allegation of this
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 3
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     paragraph. MERS is without sufficient information or knowledge to admit or deny the
 1
 2   allegations contained in this paragraph, and on that basis, denies them.

 3              13.   Answering Paragraph 13 of the FAC, BANA denies that it never had possession
 4
     of the subject note. MERS is without sufficient information or knowledge to admit or deny the
 5
     allegations contained in this paragraph, and on that basis, denies them. The remainder of FAC
 6
 7   Paragraph 13, is legal conclusions to which no response is required. To the extent a response

 8   required, Defendants deny the remaining allegations.
 9                                            JURISDICTION
10
                14.   Paragraphs 14-20 consist of legal arguments and conclusions to which no
11
     response is required. To the extent a response is required Defendants admit that the Court has
12
13   jurisdiction and that venue is proper.

14                                                PARTIES
15   PLAINTIFF
16
                21.   Answering Paragraph 21 of the FAC, Defendants admits that Plaintiff Jeremy
17
     Wolfson is a citizen of Washington based upon information and belief.
18
19   DEFENDANT BANK OF AMERICA, N.A.

20              22.   Answering Paragraph 22 of the FAC, BANA admits that it is a national
21
     association and a citizen of North Carolina. Except as expressly admitted, BANA denies each
22
     and every remaining allegation of this paragraph. MERS is without sufficient information or
23
24   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, denies

25   them.
26              23.   Paragraph 23 of the FAC, is a legal conclusion to which no response is required.
27
     To the extent a response required, BANA denies the allegations. MERS is without sufficient
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 4
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     information or knowledge to admit or deny the allegations contained in this paragraph, and on
 1
 2   that basis, denies them.

 3              24.   Paragraph 24 of the FAC, is a legal conclusion to which no response is required.
 4
     To the extent a response required, BANA denies the allegations. MERS is without sufficient
 5
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
 6
 7   that basis, denies them.

 8              25.   Answering Paragraph 25 of the FAC, Defendants admit that BANA is the current,
 9   beneficiary of the subject Deed of Trust that Plaintiff signed. Except as expressly admitted,
10
     Defendants deny each and every remaining allegation of this paragraph.
11
                26.   Answering Paragraph 26 of the FAC, BANA admits that it is the servicer of the
12
13   subject loan and is not the owner of the subject loan. MERS is without sufficient information or

14   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, denies
15   them.
16
                27.   Answering Paragraph 27 of the FAC, Plaintiff’s purported definition of “the
17
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
18
19   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

20   them.
21
                28.   Answering Paragraph 28 of the FAC, Plaintiff’s purported definition of “the
22
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
23
24   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

25   them.
26              29.    Paragraph 29 of the FAC is a legal conclusion to which no response is required.
27
     To the extent a response is required, Plaintiff’s purported definition of “the Note” is vague and
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 5
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
 1
 2   deny the allegations contained in this paragraph, and on that basis, deny them.

 3              30.   Paragraph 30 of the FAC, is a legal conclusion to which no response is required.
 4
     To the extent a response required, BANA denies the allegations. MERS is without sufficient
 5
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
 6
 7   that basis, denies them.

 8              31.    Paragraph 31 of the FAC is a legal conclusion to which no response is required.
 9   To the extent a response is required, Plaintiff’s purported definition of “the Note” is vague and
10
     unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
11
     deny the allegations contained in this paragraph, and on that basis, deny them.
12
13              32.    Paragraph 32 of the FAC is a legal conclusion to which no response is required.

14   To the extent a response is required, Plaintiff’s purported definition of “the Note” is vague and
15   unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
16
     deny the allegations contained in this paragraph, and on that basis, deny them.
17
     DEFENDANT MTC FINANCIAL INC. D/B/A TRUSTEE CORPS
18
19              33.   Answering Paragraph 33 of the FAC, Defendants lack sufficient information or

20   knowledge to admit or deny the allegations contained therein, and on that basis, deny the
21
     allegations.
22
                34.   Answering Paragraph 34 of the FAC, Defendants lack sufficient information or
23
24   knowledge to admit or deny the allegations contained therein, and on that basis, deny the

25   allegations.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 6
     Case No.: 3:17-cv-06064-BHS
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                35.   Answering Paragraph 35 of the FAC, BANA denies the allegations therein.
 1
 2   MERS is without sufficient information or knowledge to admit or deny the allegations contained

 3   in this paragraph, and on that basis, denies them.
 4
                36.   Answering Paragraph 36 of the FAC, BANA denies the allegations therein.
 5
     MERS is without sufficient information or knowledge to admit or deny the allegations contained
 6
 7   in this paragraph, and on that basis, denies them.

 8              37.   Answering Paragraph 37 of the FAC, Defendants lack sufficient information or
 9   knowledge to admit or deny the allegations contained therein, and on that basis, deny the
10
     allegations.
11
                38.   Answering Paragraph 38 of the FAC, BANA denies the allegations therein.
12
13   MERS is without sufficient information or knowledge to admit or deny the allegations contained

14   in this paragraph, and on that basis, denies them.
15   DEFENDANT FIRST MAGNUS FINANCIAL CORPORATION,
16
     AN ARIZONA CORPORATION
17
                39.   Answering Paragraph 39 of the FAC, Defendants admit that First Magnus
18
19   Financial Corporation, an Arizona Corporation was the original lender for the subject loan.

20   Except as expressly admitted, Defendants deny each and every remaining allegation of this
21
     paragraph.
22
                40.   Answering Paragraph 40 of the FAC, Defendants lack sufficient information or
23
24   knowledge to admit or deny the allegations contained therein, and on that basis, deny the

25   allegations.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 7
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                41.    Answering Paragraph 41 of the FAC, Defendants lack sufficient information or
 1
 2   knowledge to admit or deny the allegations contained therein, and on that basis, deny the

 3   allegations.
 4
                42.    Answering Paragraph 42 of the FAC, Defendants deny the allegations therein
 5
     based upon information and belief.
 6
 7              43.    Answering Paragraph 43 of the FAC, Defendants deny the allegations therein

 8   based upon information and belief.
 9              44.    Answering Paragraph 44 of the FAC, Defendants lack sufficient information or
10
     knowledge to admit or deny the allegations contained therein, and on that basis, deny the
11
     allegations.
12
13              45.    Answering Paragraph 45 of the FAC, Defendants deny the allegations therein

14   based upon information and belief.
15   DEFENDANT MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
16
                46.    Answering Paragraph 46 of the FAC, MERS admits that it is a corporation
17
     incorporated in the state of Delaware and that it is a wholly-owned subsidiary of MERSCORP
18
19   Holdings, Inc., with its principal place of business in Reston, Virginia. MERS admits it is not

20   registered as a foreign corporation in Washington State. MERS denies all other allegations.
21
     BANA is without sufficient information or knowledge to admit or deny the allegations contained
22
     in this paragraph, and on that basis, denies them.
23
24              47. Answering Paragraph 47 of the FAC, Plaintiff’s purported definition of “the Note” is

25   vague and unidentifiable and thus Defendants are without sufficient information or knowledge to
26   admit or deny the allegations contained in this paragraph, and on that basis, deny them.
27
     Moreover, there is no definition for the term “the Property.” As such, the allegations in this
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 8
     Case No.: 3:17-cv-06064-BHS
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     paragraph are vague and unidentifiable and thus Defendants are without sufficient information or
 1
 2   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

 3   them.
 4
                48. Answering Paragraph 48 of the FAC, Defendants admit that there is no recorded
 5
     document making MERS an Attorney in Fact of BANA.                Except as expressly admitted,
 6
 7   Defendants deny each and every remaining allegation of this paragraph.

 8              49.    Answering Paragraph 49 of the FAC, Plaintiff’s use of the term “a transaction” is
 9   vague and thus Defendants are without sufficient information or knowledge to admit or deny the
10
     allegations contained in this paragraph, and on that basis, deny them. However, MERS
11
     specifically denies that it engaged in any fraudulent actions with regard to the subject loan.
12
13   DEFENDANT MERSCORP HOLDINGS, INC.

14              50.    This defendant has been dismissed from this action and therefore the allegation(s)
15   contained in this paragraph are no longer relevant and no response is required.
16
                51.    This defendant has been dismissed from this action and therefore the allegation(s)
17
     contained in this paragraph are no longer relevant and no response is required.
18
19              52.    This defendant has been dismissed from this action and therefore the allegation(s)

20   contained in this paragraph are no longer relevant and no response is required.
21
     DEFENDANT MAROON HOLDING, LLC
22
                53.    This defendant has been dismissed from this action and therefore the allegation(s)
23
24   contained in this paragraph are no longer relevant and no response is required.

25              54.    This defendant has been dismissed from this action and therefore the allegation(s)
26   contained in this paragraph are no longer relevant and no response is required.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 9
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                55.   This defendant has been dismissed from this action and therefore the allegation(s)
 1
 2   contained in this paragraph are no longer relevant and no response is required.

 3              56.   This defendant has been dismissed from this action and therefore the allegation(s)
 4
     contained in this paragraph are no longer relevant and no response is required.
 5
     DEFENDANT INTERCONTINENTAL EXCHANGE, INC.
 6
 7              57.   This defendant has been dismissed from this action and therefore the allegation(s)

 8   contained in this paragraph are no longer relevant and no response is required.
 9              58.   This defendant has been dismissed from this action and therefore the allegation(s)
10
     contained in this paragraph are no longer relevant and no response is required.
11
                59.   This defendant has been dismissed from this action and therefore the allegation(s)
12
13   contained in this paragraph are no longer relevant and no response is required.

14              60.   This defendant has been dismissed from this action and therefore the allegation(s)
15   contained in this paragraph are no longer relevant and no response is required.
16
                61.   This defendant has been dismissed from this action and therefore the allegation(s)
17
     contained in this paragraph are no longer relevant and no response is required.
18
19              62.   This defendant has been dismissed from this action and therefore the allegation(s)

20   contained in this paragraph are no longer relevant and no response is required.
21
                                        FACTUAL ALLEGATIONS
22
                63.   There are no allegations against Defendants in FAC Paragraph 63 and therefore
23
24   no response is required.

25   OWNERSHIP AND POSSESSION
26              64.   Answering Paragraph 64 of the FAC, on information and belief, BANA admits
27
     that Plaintiff is the current owner of the real property located at 16208 132nd Avenue East,
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 10
     Case No.: 3:17-cv-06064-BHS
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     Puyallup, Washington 98374 (the “Property”) and that the FAC correctly states the legal
 1
 2   description and APN for the Property. Except as expressly admitted herein, Defendants lack

 3   sufficient knowledge or information to form a belief as to the truth of the remaining allegations
 4
     and, on that basis, deny each and every remaining allegation contained therein.
 5
                65.   Answering Paragraph 65 of the FAC, Defendants lack sufficient information and
 6
 7   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

 8   and every allegation contained therein.
 9              66.   Answering Paragraph 66 of the FAC, Defendants lack sufficient information and
10
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
11
     and every allegation contained therein.
12
13              67.   Answering Paragraph 67 of the FAC, Defendants lack sufficient information and

14   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
15   and every allegation contained therein.
16
                68.   Answering Paragraph 68 of the FAC, Defendants admit the allegation therein.
17
                69.   Answering Paragraph 69 of the FAC, Defendants lack sufficient information and
18
19   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

20   and every allegation contained therein.
21
                70.   Answering Paragraph 70 of the FAC, Defendants lack sufficient information and
22
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
23
24   and every allegation contained therein.

25              71.   Answering Paragraph 71 of the FAC, BANA denies the allegations therein.
26   MERS is without sufficient information or knowledge to admit or deny the allegations contained
27
     in this paragraph, and on that basis, denies them.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 11
     Case No.: 3:17-cv-06064-BHS
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     THE DEED TO PLAINTIFF
 1
 2              72.   Answering Paragraph 72 of the FAC, the referenced Statutory Warranty Deed is a

 3   written document, which speaks for itself, and it is the best evidence of what is contained therein.
 4
     Defendants deny any description of the referenced document and its terms to the extent the
 5
     description is inconsistent with the referenced document. Except as expressly admitted herein,
 6
 7   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

 8   therein and, on that basis, deny the allegations.
 9              73.   Answering Paragraph 73 of the FAC, the referenced Statutory Warranty Deed is a
10
     written document, which speaks for itself, and it is the best evidence of what is contained therein.
11
     Defendants deny any description of the referenced document and its terms to the extent the
12
13   description is inconsistent with the referenced document. Except as expressly admitted herein,

14   Defendants lack sufficient information or knowledge to admit or deny the allegations contained
15   therein and, on that basis, deny the allegations.
16
     THE ALLEGED LOAN
17
                74.   Answering Paragraph 74 of the FAC, on information and belief, BANA admits
18
19   that First Magnus Corporation, An Arizona Corporation (“First Magnus”) lent money to Plaintiff

20   and Erin D. Huffman on or about April 26, 2007. Except as expressly admitted herein, BANA
21
     denies each and every remaining allegation contained therein. MERS is without sufficient
22
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
23
24   that basis, denies them.

25              75.   Answering Paragraph 75 of the FAC, on information and belief, BANA admits
26   that First Magnus Corporation, An Arizona Corporation (“First Magnus”) lent credit to Plaintiff
27
     and Erin D. Huffman on or about April 26, 2007. Except as expressly admitted herein, BANA
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 12
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     denies each and every remaining allegation contained therein. MERS is without sufficient
 1
 2   information or knowledge to admit or deny the allegations contained in this paragraph, and on

 3   that basis, denies them.
 4
                76.   Answering Paragraph 76 of the FAC, the referenced Deed of Trust is a written
 5
     document, which speaks for itself, and it is the best evidence of what is contained therein.
 6
 7   Defendants deny any description of the referenced document and its terms to the extent the

 8   description is inconsistent with the referenced document. Except as expressly admitted herein,
 9   Defendants lack sufficient information or knowledge to admit or deny the allegations contained
10
     therein and, on that basis, deny the allegations.
11
                77.   Answering Paragraph 77 of the FAC, BANA denies the allegations therein on
12
13   information and belief. MERS is without sufficient information or knowledge to admit or deny

14   the allegations contained in this paragraph, and on that basis, denies them.
15              78.   Answering Paragraph 78 of the FAC, BANA denies the allegations therein on
16
     information and belief. MERS is without sufficient information or knowledge to admit or deny
17
     the allegations contained in this paragraph, and on that basis, denies them.
18
19              79.   Answering Paragraph 79 of the FAC, Plaintiff’s purported definition of “the

20   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
21
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
22
     them.
23
24              80.   Answering Paragraph 80 of the FAC, the referenced Deed of Trust is a written

25   document, which speaks for itself, and it is the best evidence of what is contained therein.
26   Defendants deny any description of the referenced document and its terms to the extent the
27
     description is inconsistent with the referenced document. Except as expressly admitted herein,
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 13
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     Defendants lack sufficient information or knowledge to admit or deny the allegations contained
 1
 2   therein and, on that basis, deny the allegations.

 3              81.   Answering Paragraph 81 of the FAC, BANA denies the allegations therein on
 4
     information and belief. MERS is without sufficient information or knowledge to admit or deny
 5
     the allegations contained in this paragraph, and on that basis, denies them.
 6
 7              82.   Paragraph 82 of the FAC is a legal conclusion to which no response is required.

 8   To the extent a response required, Plaintiff’s purported definition of “the Note” is vague and
 9   unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
10
     deny the allegations contained in this paragraph, and on that basis, deny them.
11
                83.   Paragraph 83 of the FAC is a legal conclusion to which no response is required.
12
13   To the extent a response required, Plaintiff’s purported definition of “the Note” is vague and

14   unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
15   deny the allegations contained in this paragraph, and on that basis, deny them.
16
                84.   Paragraph 84 of the FAC is a legal conclusion to which no response is required.
17
     To the extent a response required, Plaintiff’s purported definition of “the Note” is vague and
18
19   unidentifiable and thus Defendants are without sufficient information or knowledge to admit or

20   deny the allegations contained in this paragraph, and on that basis, deny them.
21
                85.   Paragraph 85 of the FAC is a legal conclusion to which no response is required.
22
     To the extent a response required, Plaintiff’s purported definition of “the Note” is vague and
23
24   unidentifiable and thus Defendants are without sufficient information or knowledge to admit or

25   deny the allegations contained in this paragraph, and on that basis, deny them.
26              86.   Paragraph 86 of the FAC is a legal conclusion to which no response is required.
27
     To the extent a response required, Plaintiff’s purported definition of “the Note” is vague and
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 14
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     unidentifiable and thus Defendants are without sufficient information or knowledge to admit or
 1
 2   deny the allegations contained in this paragraph, and on that basis, deny them.

 3              87.   Answering Paragraph 87 of the FAC, Defendants lack sufficient information and
 4
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 5
     and every allegation contained therein.
 6
 7              88.   Answering Paragraph 88 of the FAC, Defendants lack sufficient information and

 8   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 9   and every allegation contained therein.
10
                89.   Answering Paragraph 89 of the FAC, Plaintiff’s purported definition of “the
11
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
12
13   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

14   them.
15              90.   Answering Paragraph 90 of the FAC, Plaintiff’s purported definition of “the
16
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
17
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
18
19   them.

20              91.   Answering Paragraph 91 of the FAC, BANA denies the allegations therein on
21
     information and belief. MERS is without sufficient information or knowledge to admit or deny
22
     the allegations contained in this paragraph, and on that basis, denies them.
23
24              92.   Answering Paragraph 92 of the FAC, Defendants lack sufficient information and

25   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
26   and every allegation contained therein.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 15
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                93.   Answering Paragraph 93 of the FAC, Defendants lack sufficient information and
 1
 2   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

 3   and every allegation contained therein.
 4
                94.   Paragraph 94 of the FAC contains allegations regarding Plaintiff’s own personal
 5
     beliefs and thus, Defendants lack sufficient information and belief upon which to admit or deny
 6
 7   the allegations contained therein, and on that basis deny each and every allegation contained

 8   therein.
 9              95.   Answering Paragraph 95 of the FAC, Defendants lack sufficient information and
10
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
11
     and every allegation contained therein.
12
13              96.   Answering Paragraph 96 of the FAC, Defendants lack sufficient information and

14   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
15   and every allegation contained therein.
16
                97.   Answering Paragraph 97 of the FAC, Plaintiff’s purported definition of “the
17
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
18
19   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

20   them. MERS is without sufficient information or knowledge to admit or deny the allegations
21
     contained in this paragraph, and on that basis, denies them.
22
                98.   Answering Paragraph 98 of the FAC, BANA denies the allegations therein.
23
24   MERS is without sufficient information or knowledge to admit or deny the allegations contained

25   in this paragraph, and on that basis, denies them.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 16
     Case No.: 3:17-cv-06064-BHS
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                99.    Answering Paragraph 97 of the FAC, BANA denies the allegations therein in that
 1
 2   BANA is the servicer for the subject loan. MERS is without sufficient information or knowledge

 3   to admit or deny the allegations contained in this paragraph, and on that basis, denies them.
 4
                100.   Answering Paragraph 100 of the FAC, Defendants lack sufficient information and
 5
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 6
 7   and every allegation contained therein.

 8              101.   Answering Paragraph 101 of the FAC, Plaintiff’s purported definition of “the
 9   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
10
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
11
     them.
12
13              102.   Answering Paragraph 102 of the FAC, Plaintiff’s purported definition of “the

14   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
15   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
16
     them.
17
     THE DEED OF TRUST
18
19              103.   Answering Paragraph 103 of the FAC, the referenced Deed of Trust is a written

20   document, which speaks for itself, and it is the best evidence of what is contained therein.
21
     Defendants deny any description of the referenced document and its terms to the extent the
22
     description is inconsistent with the referenced document. Except as expressly admitted herein,
23
24   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

25   therein and, on that basis, deny the allegations.
26              104.   Answering Paragraph 104 of the FAC, the referenced Deed of Trust is a written
27
     document, which speaks for itself, and it is the best evidence of what is contained therein.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 17
     Case No.: 3:17-cv-06064-BHS
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     Defendants deny any description of the referenced document and its terms to the extent the
 1
 2   description is inconsistent with the referenced document. Except as expressly admitted herein,

 3   Defendants lack sufficient information or knowledge to admit or deny the allegations contained
 4
     therein and, on that basis, deny the allegations.
 5
                105.   Answering Paragraph 105 of the FAC, on information and belief, Defendants
 6
 7   deny the allegation therein.

 8              106.   Answering Paragraph 106 of the FAC, the referenced Deed of Trust is a written
 9   document, which speaks for itself, and it is the best evidence of what is contained therein.
10
     Defendants deny any description of the referenced document and its terms to the extent the
11
     description is inconsistent with the referenced document. Except as expressly admitted herein,
12
13   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

14   therein and, on that basis, deny the allegations.
15              107.   Answering Paragraph 107 of the FAC, BANA denies the allegations therein on
16
     information and belief. MERS is without sufficient information or knowledge to admit or deny
17
     the allegations contained in this paragraph, and on that basis, denies them.
18
19              108.   Answering Paragraph 108 of the FAC, the referenced Deed of Trust is a written

20   document, which speaks for itself, and it is the best evidence of what is contained therein.
21
     Defendants deny any description of the referenced document and its terms to the extent the
22
     description is inconsistent with the referenced document. Except as expressly admitted herein,
23
24   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

25   therein and, on that basis, deny the allegations.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 18
     Case No.: 3:17-cv-06064-BHS
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                109.   Answering Paragraph 109 of the FAC, BANA denies the allegations therein on
 1
 2   information and belief. MERS is without sufficient information or knowledge to admit or deny

 3   the allegations contained in this paragraph, and on that basis, denies them.
 4
                110.   Answering Paragraph 110 of the FAC, BANA denies the allegations therein on
 5
     information and belief. MERS is without sufficient information or knowledge to admit or deny
 6
 7   the allegations contained in this paragraph, and on that basis, denies them.

 8              111.   Answering Paragraph 111 of the FAC, the referenced Deed of Trust is a written
 9   document, which speaks for itself, and it is the best evidence of what is contained therein.
10
     Defendants deny any description of the referenced document and its terms to the extent the
11
     description is inconsistent with the referenced document. Except as expressly admitted herein,
12
13   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

14   therein and, on that basis, deny the allegations.
15              112.   Answering Paragraph 111 of the FAC, the referenced Deed of Trust is a written
16
     document, which speaks for itself, and it is the best evidence of what is contained therein.
17
     Defendants deny any description of the referenced document and its terms to the extent the
18
19   description is inconsistent with the referenced document. BANA admits that the subject loan

20   had a forty-year term at origination. Except as expressly admitted herein, BANA denies the
21
     remaining allegations therein on information and belief. MERS is without sufficient information
22
     or knowledge to admit or deny the allegations contained in this paragraph, and on that basis,
23
24   denies them.

25              113.   Answering Paragraph 113 of the FAC, BANA denies the allegations therein on
26   information and belief. MERS is without sufficient information or knowledge to admit or deny
27
     the allegations contained in this paragraph, and on that basis, denies them.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 19
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                114.   Answering Paragraph 114 of the FAC, BANA denies the allegations therein on
 1
 2   information and belief. MERS is without sufficient information or knowledge to admit or deny

 3   the allegations contained in this paragraph, and on that basis, denies them.
 4
     FIRST MAGNUS WENT OUT OF BUSINESS
 5
                115.   Answering Paragraph 115 of the FAC, Defendants lack sufficient information and
 6
 7   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

 8   and every allegation contained therein.
 9              116.   Answering Paragraph 116 of the FAC, the referenced website and the contents
10
     thereon speaks for itself and is the best evidence of what is contained therein. Defendants deny
11
     any description of the referenced website and its contents to the extent the description is
12
13   inconsistent with the referenced website. Except as expressly admitted herein, Defendants lack

14   sufficient information or knowledge to admit or deny the allegations contained therein and, on
15   that basis, deny the allegations.
16
     THE SECURITIZATION
17
                117.   Answering Paragraph 117 of the FAC, Plaintiff’s purported definition of “the
18
19   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

20   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
21
     them.
22
                118.   Answering Paragraph 118 of the FAC, Defendants lack sufficient information and
23
24   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

25   and every allegation contained therein.
26              119.   Answering Paragraph 119 of the FAC, Defendants respond that this paragraph
27
     contains a legal conclusion that does not require a response. To the extent this paragraph requires
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 20
     Case No.: 3:17-cv-06064-BHS
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     a response Defendants are without sufficient knowledge or information to admit or deny the
 1
 2   allegations and on that basis deny each and every allegation of this paragraph.

 3              120.   Answering Paragraph 120 of the FAC, Defendants lack sufficient information and
 4
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 5
     and every allegation contained therein.
 6
 7              121.   Answering Paragraph 121 of the FAC, Defendants lack sufficient information and

 8   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 9   and every allegation contained therein.
10
                122.   Answering Paragraph 122 of the FAC, Defendants lack sufficient information and
11
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
12
13   and every allegation contained therein.

14              123.   Answering Paragraph 123 of the FAC, Plaintiff’s purported definition of “the
15   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
16
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
17
     them.
18
19              124.   Answering Paragraph 124 of the FAC, Plaintiff’s purported definition of “the

20   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
21
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
22
     them.
23
24              125.   Answering Paragraph 125 of the FAC, Plaintiff’s purported definition of “the

25   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
26   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
27
     them.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 21
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                126.   Answering Paragraph 126 of the FAC, Defendants lack sufficient information and
 1
 2   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

 3   and every allegation contained therein.
 4
                127.   Answering Paragraph 127 of the FAC, Plaintiff’s purported definition of “the
 5
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
 6
 7   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

 8   them.
 9              128.   Answering Paragraph 128 of the FAC, BANA admits that it has a designated
10
     document custodian who holds the original notes for it, as well as the delivery and receipt
11
     certificates regarding those notes. Except as expressly admitted, Defendants are without
12
13   sufficient information or knowledge to admit or deny the allegations contained in this paragraph,

14   and on that basis, deny them.
15              129.   Answering Paragraph 129 of the FAC, Defendants lack sufficient information and
16
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
17
     and every allegation contained therein.
18
19              130.   Answering Paragraph 130 of the FAC, Defendants lack sufficient information and

20   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
21
     and every allegation contained therein.
22
                131.   Answering Paragraph 131 of the FAC, Defendants lack sufficient information and
23
24   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

25   and every allegation contained therein.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 22
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                132.   Answering Paragraph 132 of the FAC, Defendants lack sufficient information and
 1
 2   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

 3   and every allegation contained therein.
 4
                133.   Answering Paragraph 133 of the FAC, Defendants lack sufficient information and
 5
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 6
 7   and every allegation contained therein.

 8              134.   Answering Paragraph 134 of the FAC, Defendants lack sufficient information and
 9   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
10
     and every allegation contained therein.
11
                135.   Answering Paragraph 135 of the FAC, Defendants lack sufficient information and
12
13   belief upon which to admit or deny the allegations contained therein, and on that basis deny each

14   and every allegation contained therein.
15   THE ASSIGNMENT OF DEED OF TRUST TO BANA
16
                136.   Answering Paragraph 136 of the FAC, the referenced Assignment of Deed of
17
     Trust is a written document, which speaks for itself, and it is the best evidence of what is
18
19   contained therein. Defendants deny any description of the referenced document and its terms to

20   the extent the description is inconsistent with the referenced document. Except as expressly
21
     admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
22
     allegations contained therein and, on that basis, deny the allegations.
23
24              137.   Answering Paragraph 137 of the FAC, the referenced Assignment of Deed of

25   Trust is a written document, which speaks for itself, and it is the best evidence of what is
26   contained therein. Defendants deny any description of the referenced document and its terms to
27
     the extent the description is inconsistent with the referenced document. Except as expressly
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 23
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     admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
 1
 2   allegations contained therein and, on that basis, deny the allegations.

 3              138.   Answering Paragraph 138 of the FAC, the referenced Assignment of Deed of
 4
     Trust is a written document, which speaks for itself, and it is the best evidence of what is
 5
     contained therein. Defendants deny any description of the referenced document and its terms to
 6
 7   the extent the description is inconsistent with the referenced document. Except as expressly

 8   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
 9   allegations contained therein and, on that basis, deny the allegations.
10
                139.   Answering Paragraph 139 of the FAC, the referenced Assignment of Deed of
11
     Trust is a written document, which speaks for itself, and it is the best evidence of what is
12
13   contained therein. Defendants deny any description of the referenced document and its terms to

14   the extent the description is inconsistent with the referenced document. Except as expressly
15   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
16
     allegations contained therein and, on that basis, deny the allegations.
17
                140.   Answering Paragraph 140 of the FAC, the referenced Assignment of Deed of
18
19   Trust is a written document, which speaks for itself, and it is the best evidence of what is

20   contained therein. Defendants deny any description of the referenced document and its terms to
21
     the extent the description is inconsistent with the referenced document. Except as expressly
22
     admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
23
24   allegations contained therein and, on that basis, deny the allegations.

25              141.   Answering Paragraph 141 of the FAC, Defendants deny the allegations therein.
26              142.   Answering Paragraph 142 of the FAC, the referenced Assignment of Deed of
27
     Trust is a written document, which speaks for itself, and it is the best evidence of what is
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 24
     Case No.: 3:17-cv-06064-BHS
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     contained therein. Defendants deny any description of the referenced document and its terms to
 1
 2   the extent the description is inconsistent with the referenced document. Except as expressly

 3   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
 4
     allegations contained therein and, on that basis, deny the allegations.
 5
                143.   Paragraph 143 of the FAC is vague as to time and Plaintiff’s purported definition
 6
 7   of “the Note” is vague and unidentifiable. Therefore, Defendants lack sufficient information and

 8   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 9   and every allegation contained therein.
10
                144.   Answering Paragraph 144 of the FAC, Plaintiff’s purported definition of “the
11
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
12
13   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

14   them.
15              145.   Answering Paragraph 145 of the FAC, BANA admits that it is the loan servicer of
16
     the subject loan on behalf of the owner of the loan. Except as expressly admitted herein,
17
     Defendants lack sufficient information or knowledge to admit or deny the remaining allegations
18
19   contained therein and, on that basis, deny the remaining allegations.

20              146.   Answering Paragraph 146 of the FAC, Defendants lack sufficient information and
21
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
22
     and every allegation contained therein.
23
24              147.   Answering Paragraph 147 of the FAC, Defendants lack sufficient information and

25   belief upon which to admit or deny the allegations contained therein, and on that basis deny each
26   and every allegation contained therein.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 25
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                148.   Answering Paragraph 148 of the FAC, MERS denies the allegation therein.
 1
 2   BANA is without sufficient information or knowledge to admit or deny the allegations contained

 3   in this paragraph, and on that basis, denies them.
 4
                149.   Answering Paragraph 149 of the FAC, Defendants lack sufficient information and
 5
     belief upon which to admit or deny the allegations contained therein, and on that basis deny each
 6
 7   and every allegation contained therein.

 8              150.   Paragraph 150 of the FAC, contains legal conclusions that do not require a
 9   response. To the extent this paragraph requires a response, Defendants deny the allegations
10
     therein.
11
                151.   Paragraph 151 of the FAC, contains legal conclusions that do not require a
12
13   response. To the extent this paragraph requires a response, Defendants deny the allegations

14   therein.
15              152.   Answering Paragraph 152 of the FAC, Plaintiff’s allegations are vague as to what
16
     context Plaintiff is claiming that First Magnus had no successors or assigns and thus Defendants
17
     lack sufficient information and belief upon which to admit or deny the allegations contained
18
19   therein, and on that basis deny each and every allegation contained therein.

20              153.   Paragraph 153 of the FAC, contains legal conclusions that do not require a
21
     response and Plaintiff’s allegations are vague as to what context Plaintiff is claiming that First
22
     Magnus had no successors or assigns. To the extent this paragraph requires a response,
23
24   Defendants deny the allegations therein.

25              154.   Paragraph 154 of the FAC, contains legal conclusions that do not require a
26   response. To the extent this paragraph requires a response, Defendants lack sufficient
27
     information and belief about First Magnus Financial Corporation’s status upon which to admit or
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 26
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     deny that allegation, and on that basis deny that allegation, as well as each and every remaining
 1
 2   allegation contained therein.

 3              155.   Paragraph 155 of the FAC is vague as to “the disputed transaction” and thus,
 4
     Defendants lack sufficient information and belief upon which to admit or deny the allegations
 5
     contained therein, and on that basis deny each and every allegation contained therein.
 6
 7              156.   Paragraph 156 of the FAC is vague as to “the promissory note,” “other

 8   instrument,” and “the obligation.” Subject to, and without waiving, those objections, Defendants
 9   admit that MERS never held the note for the subject loan. Except as expressly admitted herein,
10
     Defendants lack sufficient information and belief upon which to admit or deny the remaining
11
     allegations contained therein, and on that basis deny each and every allegation contained therein.
12
13              157.   Answering Paragraph 157 of the FAC, the referenced Assignment of Deed of

14   Trust is a written document, which speaks for itself, and it is the best evidence of what is
15   contained therein. Defendants deny any description of the referenced document and its terms to
16
     the extent the description is inconsistent with the referenced document. Except as expressly
17
     admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
18
19   allegations contained therein and, on that basis, deny the allegations.

20              158.   Answering Paragraph 158 of the FAC, Defendants respond that this paragraph
21
     contains legal conclusions that do not require a response. To the extent this paragraph requires a
22
     response Defendants are without sufficient knowledge or information to admit or deny the
23
24   allegations and on that basis deny each and every allegation of this paragraph.

25              159.   Paragraph 159 of the FAC is vague as to “the disputed transaction” and thus,
26   Defendants lack sufficient information and belief upon which to admit or deny the allegations
27
     contained therein, and on that basis deny each and every allegation contained therein.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 27
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                160.   Paragraph 160 of the FAC is vague as to “the disputed transaction” and thus,
 1
 2   Defendants lack sufficient information and belief upon which to admit or deny the allegations

 3   contained therein, and on that basis deny each and every allegation contained therein.
 4
                161.   Paragraph 161 of the FAC is vague as to “the disputed transaction” and thus,
 5
     Defendants lack sufficient information and belief upon which to admit or deny the allegations
 6
 7   contained therein, and on that basis deny each and every allegation contained therein.

 8              162.   Answering Paragraph 162 of the FAC, Defendants respond that this paragraph
 9   contains legal conclusions that do not require a response. To the extent this paragraph requires a
10
     response Defendants deny each and every allegation of this paragraph.
11
                163.   Answering Paragraph 163 of the FAC, Defendants deny each and every allegation
12
13   of this paragraph.

14              164.   Paragraph 164 of the FAC does not state a factual allegation, but instead attempts
15   to state either argument or legal conclusions to which no response is required. To the extent this
16
     paragraph requires a response, Defendants deny the allegations therein.
17
                165.   Paragraph 165 of the FAC does not state a factual allegation, but instead attempts
18
19   to state either argument or legal conclusions to which no response is required. To the extent this

20   paragraph requires a response, Defendants deny the allegations therein.
21
                166.   Paragraph 166 of the FAC does not state a factual allegation, but instead attempts
22
     to state either argument or legal conclusions to which no response is required. To the extent this
23
24   paragraph requires a response, Defendants lack sufficient information and belief upon which to

25   admit or deny the allegations contained therein, and on that basis deny each and every allegation
26   contained therein.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 28
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                167.   Paragraph 167 of the FAC does not state a factual allegation, but instead attempts
 1
 2   to state either argument or legal conclusions to which no response is required. To the extent this

 3   paragraph requires a response, Defendants deny the allegations therein.
 4
                168.   Paragraph 168 of the FAC does not state a factual allegation, but instead attempts
 5
     to state either argument or legal conclusions to which no response is required. To the extent this
 6
 7   paragraph requires a response, Defendants deny the allegations therein.

 8              169.   Paragraph 169 of the FAC does not state a factual allegation, but instead attempts
 9   to state either argument or legal conclusions to which no response is required. To the extent this
10
     paragraph requires a response, Defendants deny the allegations therein.
11
                170.   Paragraph 170 of the FAC does not state a factual allegation, but instead attempts
12
13   to state either argument or legal conclusions to which no response is required. To the extent this

14   paragraph requires a response, Defendants deny the allegations therein.
15              171.   Paragraph 171 of the FAC does not state a factual allegation, but instead attempts
16
     to state either argument or legal conclusions to which no response is required. To the extent this
17
     paragraph requires a response, Defendants deny the allegations therein.
18
19              172.   Answering Paragraph 172 of the FAC, Plaintiff’s purported definition of “the

20   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
21
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
22
     them.
23
24              173.   Answering Paragraph 173 of the FAC, Defendants admit the allegations contained

25   therein.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 29
     Case No.: 3:17-cv-06064-BHS
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                174.   Answering Paragraph 174 of the FAC, Defendants respond that this paragraph
 1
 2   contains legal conclusions that do not require a response. To the extent this paragraph requires a

 3   response Defendants deny each and every allegation of this paragraph.
 4
                175.   Answering Paragraph 175 of the FAC, the referenced Assignment of Deed of
 5
     Trust is a written document, which speaks for itself, and it is the best evidence of what is
 6
 7   contained therein. Defendants deny any description of the referenced document and its terms to

 8   the extent the description is inconsistent with the referenced document. Except as expressly
 9   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
10
     allegations contained therein and, on that basis, deny the allegations.
11
                176.   Paragraph 176 of the FAC is vague as to “conveyed” and Plaintiff’s purported
12
13   definition of “the Note” is vague and unidentifiable. Therefore, BANA lacks sufficient

14   information and belief upon which to admit or deny the allegations contained therein, and on that
15   basis denies each and every allegation contained therein. MERS is without sufficient
16
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
17
     that basis, denies them.
18
19              177.   Paragraph 177 of the FAC is vague as to “conveyed” and Plaintiff’s purported

20   definition of “the Note” is vague and unidentifiable. Therefore, BANA lacks sufficient
21
     information and belief upon which to admit or deny the allegations contained therein, and on that
22
     basis denies each and every allegation contained therein. MERS is without sufficient
23
24   information or knowledge to admit or deny the allegations contained in this paragraph, and on

25   that basis, denies them.
26              178.   Paragraph 178 of the FAC is vague as to “delivered” and Plaintiff’s purported
27
     definition of “the Note” is vague and unidentifiable. Therefore, BANA lacks sufficient
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 30
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     information and belief upon which to admit or deny the allegations contained therein, and on that
 1
 2   basis denies each and every allegation contained therein. MERS is without sufficient

 3   information or knowledge to admit or deny the allegations contained in this paragraph, and on
 4
     that basis, denies them.
 5
                179.   Paragraph 179 of the FAC is vague as to “negotiated” and Plaintiff’s purported
 6
 7   definition of “the Note” is vague and unidentifiable. Therefore, BANA lacks sufficient

 8   information and belief upon which to admit or deny the allegations contained therein, and on that
 9   basis denies each and every allegation contained therein. MERS is without sufficient
10
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
11
     that basis, denies them.
12
13              180.   Answering Paragraph 180 of the FAC, Defendants lack sufficient information or

14   knowledge to admit or deny the allegations contained therein and, on that basis, deny the
15   allegations.
16
                181.   Answering Paragraph 181 of the FAC, Plaintiff’s purported definition of “the
17
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
18
19   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

20   them.
21
                182.   Answering Paragraph 182 of the FAC, Plaintiff’s purported definition of “the
22
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
23
24   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

25   them.
26              183.   Paragraph 183 of the FAC does not state a factual allegation, but instead attempts
27
     to state either argument or legal conclusions to which no response is required. To the extent this
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 31
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     paragraph requires a response, BANA denies each and every allegation contained therein.
 1
 2   MERS is without sufficient information or knowledge to admit or deny the allegations contained

 3   in this paragraph, and on that basis, denies them.
 4
                184.   Paragraph 184 of the FAC is vague as to any facts and thus, Defendants are
 5
     without sufficient information or knowledge to admit or deny the allegations contained in this
 6
 7   paragraph, and on that basis, deny them.

 8              185.   Answering Paragraph 185 of the FAC, Plaintiff’s purported definition of “the
 9   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
10
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
11
     them.
12
13              186.   Answering Paragraph 186 of the FAC, Plaintiff’s purported definition of “the

14   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
15   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
16
     them.
17
                187.   Paragraph 187 of the FAC is vague as to “the transaction” and thus, Defendants
18
19   are without sufficient information or knowledge to admit or deny the allegations contained in this

20   paragraph, and on that basis, deny them.
21
                188.   Answering Paragraph 188 of the FAC, Plaintiff’s purported definition of “the
22
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
23
24   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

25   them.
26              189.   Answering Paragraph 189 of the FAC, Plaintiff’s purported definition of “the
27
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 32
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     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
 1
 2   them.

 3              190.   Answering Paragraph 190 of the FAC, Plaintiff’s purported definition of “the
 4
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
 5
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
 6
 7   them.

 8              191.   Answering Paragraph 191 of the FAC, Defendants deny each and every allegation
 9   of this paragraph.
10
                192.   Paragraph 192 of the FAC contains no allegations and thus no response is
11
     required. To the extent this paragraph requires a response Defendants deny each and every
12
13   allegation of this paragraph.

14   THE APPOINTMENT OF SUCCESSOR TRUSTEE
15              193.   Answering Paragraph 193 of the FAC, the referenced Appointment of Successor
16
     Trustee is a written document, which speaks for itself, and it is the best evidence of what is
17
     contained therein. Defendants deny any description of the referenced document and its terms to
18
19   the extent the description is inconsistent with the referenced document. Except as expressly

20   admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
21
     allegations contained therein and, on that basis, deny the allegations.
22
                194.   Answering Paragraph 194 of the FAC, the referenced Appointment of Successor
23
24   Trustee is a written document, which speaks for itself, and it is the best evidence of what is

25   contained therein. Defendants deny any description of the referenced document and its terms to
26   the extent the description is inconsistent with the referenced document. Except as expressly
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 33
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     admitted herein, Defendants lack sufficient information or knowledge to admit or deny the
 1
 2   allegations contained therein and, on that basis, deny the allegations.

 3              195.   Paragraph 195 of the FAC does not state a factual allegation, but instead attempts
 4
     to state either argument or legal conclusions to which no response is required. To the extent this
 5
     paragraph requires a response, BANA denies each and every allegation contained therein.
 6
 7   MERS is without sufficient information or knowledge to admit or deny the allegations contained

 8   in this paragraph, and on that basis, denies them.
 9              196.   Answering Paragraph 196 of the FAC, BANA denies each and every allegation
10
     contained therein. MERS is without sufficient information or knowledge to admit or deny the
11
     allegations contained in this paragraph, and on that basis, denies them.
12
13              197.   Answering Paragraph 197 of the FAC, BANA denies each and every allegation

14   contained therein. MERS is without sufficient information or knowledge to admit or deny the
15   allegations contained in this paragraph, and on that basis, denies them.
16
                198.   Answering Paragraph 198 of the FAC, BANA denies each and every allegation
17
     contained therein based on information and belief. MERS is without sufficient information or
18
19   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, denies

20   them.
21
                199.   Paragraph 199 of the FAC is vague as to any facts and thus, Defendants are
22
     without sufficient information or knowledge to admit or deny the allegations contained in this
23
24   paragraph, and on that basis, deny them.

25              200.   Paragraph 200 of the FAC, contains legal conclusions that do not require a
26   response. To the extent his paragraph requires a response, Defendants deny the allegations
27
     therein.
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 34
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                201.   Paragraph 201 of the FAC, contains legal conclusions that do not require a
 1
 2   response. To the extent his paragraph requires a response, Defendants deny the allegations

 3   therein.
 4
                202.   Paragraph 202 of the FAC, contains legal conclusions that do not require a
 5
     response. To the extent his paragraph requires a response, Defendants deny the allegations
 6
 7   therein.

 8              203.   Answering Paragraph 203 of the FAC, BANA denies each and every allegation
 9   contained therein. MERS is without sufficient information or knowledge to admit or deny the
10
     allegations contained in this paragraph, and on that basis, denies them.
11
                204.   Answering Paragraph 204 of the FAC, BANA denies each and every allegation
12
13   contained therein. MERS is without sufficient information or knowledge to admit or deny the

14   allegations contained in this paragraph, and on that basis, denies them.
15              205.   Paragraph 205 of the FAC, contains legal conclusions that do not require a
16
     response. To the extent his paragraph requires a response, Defendants deny the allegations
17
     therein.
18
19              206.   Paragraph 206 of the FAC, contains legal conclusions that do not require a

20   response. To the extent his paragraph requires a response, Defendants deny the allegations
21
     therein.
22
     THE REFUSED LOAN MODIFICATION
23
24              207.   Answering Paragraph 207 of the FAC, Plaintiff’s allegations are vague and overly

25   broad. Subject to, and without waiving, those objections, BANA admits that Plaintiff applied to
26   BANA for a loan modification on multiple occasions. Except as expressly admitted herein,
27
     BANA denies all remaining allegations contained therein. MERS is without sufficient
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 35
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     information or knowledge to admit or deny the allegations contained in this paragraph, and on
 1
 2   that basis, denies them.

 3              208.   Answering Paragraph 208 of the FAC, Plaintiff’s allegations are vague and overly
 4
     broad. Subject to, and without waiving, those objections, BANA admits that BANA offered
 5
     Plaintiff a trial period plan on multiple occasions. Except as expressly admitted herein, BANA
 6
 7   denies all remaining allegations contained therein. MERS is without sufficient information or

 8   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, denies
 9   them.
10
                209.   Answering Paragraph 209 of the FAC, Plaintiff’s allegations are vague and overly
11
     broad. Subject to, and without waiving, those objections, BANA denies that it ever denied
12
13   Plaintiff a permanent loan modification for no adequate reason. MERS is without sufficient

14   information or knowledge to admit or deny the allegations contained in this paragraph, and on
15   that basis, denies them.
16
     THE MISSING NOTICE OF DEFAULT
17
                210.   Answering Paragraph 210 of the FAC, BANA admits that no Notice of Default
18
19   has been recorded relating to the subject loan and that recordation is not required. MERS is

20   without sufficient information or knowledge to admit or deny the allegations contained in this
21
     paragraph, and on that basis, denies them.
22
     THE NOTICE OF TRUSTEE’S SALE
23
24              211.   Answering Paragraph 211 of the FAC, the referenced Notice of Trustee’s Sale is a

25   written document, which speaks for itself, and it is the best evidence of what is contained therein.
26   Defendants deny any description of the referenced document and its terms to the extent the
27
     description is inconsistent with the referenced document. Except as expressly admitted herein,
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 36
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     Defendants lack sufficient information or knowledge to admit or deny the allegations contained
 1
 2   therein and, on that basis, deny the allegations.

 3              212.   Answering Paragraph 212 of the FAC, Defendants are without sufficient
 4
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
 5
     that basis, deny them.
 6
 7              213.   Answering Paragraph 213 of the FAC, Defendants are without sufficient

 8   information or knowledge to admit or deny the allegations contained in this paragraph, and on
 9   that basis, deny them.
10
                214.   Answering Paragraph 214 of the FAC, Defendants are without sufficient
11
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
12
13   that basis, deny them.

14              215.   Answering Paragraph 215 of the FAC, the referenced Notice of Trustee’s Sale is a
15   written document, which speaks for itself, and it is the best evidence of what is contained therein.
16
     Defendants deny any description of the referenced document and its terms to the extent the
17
     description is inconsistent with the referenced document. Except as expressly admitted herein,
18
19   Defendants lack sufficient information or knowledge to admit or deny the allegations contained

20   therein and, on that basis, deny the allegations.
21
                216.   Answering Paragraph 216 of the FAC, Defendants deny each and every allegation
22
     contained therein.
23
24              217.   Answering Paragraph 217 of the FAC, the referenced Notice of Trustee’s Sale is a

25   written document, which speaks for itself, and it is the best evidence of what is contained therein.
26   Defendants deny any description of the referenced document and its terms to the extent the
27
     description is inconsistent with the referenced document. Except as expressly admitted herein,
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 37
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     Defendants lack sufficient information or knowledge to admit or deny the allegations contained
 1
 2   therein and, on that basis, deny the allegations.

 3              218.   Answering Paragraph 218 of the FAC, Defendants deny each and every allegation
 4
     contained therein.
 5
                219.   Answering Paragraph 219 of the FAC, the referenced Notice of Trustee’s Sale is a
 6
 7   written document, which speaks for itself, and it is the best evidence of what is contained therein.

 8   Defendants deny any description of the referenced document and its terms to the extent the
 9   description is inconsistent with the referenced document. Except as expressly admitted herein,
10
     Defendants lack sufficient information or knowledge to admit or deny the allegations contained
11
     therein and, on that basis, deny the allegations.
12
13              220.   Answering Paragraph 220 of the FAC, Defendants are without sufficient

14   information or knowledge to admit or deny the allegations contained in this paragraph, and on
15   that basis, deny them.
16
                221.   Answering Paragraph 221 of the FAC, Defendants are without sufficient
17
     information or knowledge to admit or deny the allegations contained in this paragraph, and on
18
19   that basis, deny them.

20              222.   Answering Paragraph 222 of the FAC, BANA denies each and every allegation
21
     contained therein. MERS is without sufficient information or knowledge to admit or deny the
22
     allegations contained in this paragraph, and on that basis, denies them.
23
24   THE ABSENCE OF CHAIN OF TITLE

25              223.   Answering Paragraph 223 of the FAC, BANA responds that this paragraph
26   contains a legal conclusion that does not require a response. To the extent this paragraph requires
27
     a response, BANA denies the allegations therein. MERS is without sufficient information or
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 38
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     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, denies
 1
 2   them.

 3   SECTION 22 WAS NOT COMPLIED WITH
 4
                224.   Answering Paragraph 224 of the FAC, the referenced Deed of Trust is a written
 5
     document, which speaks for itself, and it is the best evidence of what is contained therein.
 6
 7   Defendants deny any description of the referenced document and its terms to the extent the

 8   description is inconsistent with the referenced document. Except as expressly admitted herein,
 9   Defendants lack sufficient information or knowledge to admit or deny the allegations contained
10
     therein and, on that basis, deny the allegations.
11
                225.   Answering Paragraph 225 of the FAC, BANA denies each and every allegation
12
13   contained therein. MERS is without sufficient information or knowledge to admit or deny the

14   allegations contained in this paragraph, and on that basis, denies them.
15              226.   Answering Paragraph 226 of the FAC, the referenced Deed of Trust is a written
16
     document, which speaks for itself, and it is the best evidence of what is contained therein.
17
     Defendants deny any description of the referenced document and its terms to the extent the
18
19   description is inconsistent with the referenced document. Except as expressly admitted herein,

20   Defendants lack sufficient information or knowledge to admit or deny the allegations contained
21
     therein and, on that basis, deny the allegations.
22
                227.   Answering Paragraph 227 of the FAC, BANA denies each and every allegation
23
24   contained therein. MERS is without sufficient information or knowledge to admit or deny the

25   allegations contained in this paragraph, and on that basis, denies them.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 39
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     SERVICING VIOLATIONS
 1
 2              228.   Answering Paragraph 228 of the FAC, BANA denies each and every allegation

 3   contained therein. MERS is without sufficient information or knowledge to admit or deny the
 4
     allegations contained in this paragraph, and on that basis, denies them.
 5
                229.   Answering Paragraph 229 of the FAC, Defendants respond that this paragraph
 6
 7   contains a legal conclusion that does not require a response. To the extent this paragraph requires

 8   a response Defendants are without sufficient knowledge or information to admit or deny the
 9   allegations and on that basis deny each and every allegation of this paragraph.
10
     BANA IS A DEBT COLLECTOR
11
                230.   Answering Paragraph 230 of the FAC, Plaintiff’s purported definition of “the
12
13   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

14   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
15   them.
16
     BANA IS NOT HOLDER IN DUE COURSE OF THE NOTE
17
                231.   Answering Paragraph 231 of the FAC, Plaintiff’s purported definition of “the
18
19   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

20   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
21
     them.
22
                232.   Answering Paragraph 232 of the FAC, Plaintiff’s purported definition of “the
23
24   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

25   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
26   them.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 40
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                233.   Answering Paragraphs 233 of the FAC, Plaintiff’s purported definition of “the
 1
 2   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

 3   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
 4
     them.
 5
                234.   Answering Paragraph 234 of the FAC, Plaintiff’s purported definition of “the
 6
 7   Note” is vague and unidentifiable and thus Defendants are without sufficient information or

 8   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
 9   them.
10
                235.   Answering Paragraph 235 of the FAC, Plaintiff’s purported definition of “the
11
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
12
13   knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny

14   them.
15              236.   Answering Paragraph 236 of the FAC, Plaintiff’s purported definition of “the
16
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
17
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
18
19   them.

20              237.   Answering Paragraph 237 of the FAC, Plaintiff’s purported definition of “the
21
     Note” is vague and unidentifiable and thus Defendants are without sufficient information or
22
     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
23
24   them.

25              238.   Answering Paragraph 238 of the FAC, Plaintiff’s purported definition of “the
26   Note” is vague and unidentifiable and thus Defendants are without sufficient information or
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 41
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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     knowledge to admit or deny the allegations contained in this paragraph, and on that basis, deny
 1
 2   them.

 3                                         FIRST CAUSE OF ACTION
                                                   (Quiet Title)
 4
                                             (Against All Defendants)
 5
                239-261.        Answering Paragraph 239-261 of the FAC, Defendants respond that no
 6
     response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
 7
 8   action. To the extent that a response is required, Defendants deny each and every allegation

 9   contained therein.
10
                                         SECOND CAUSE OF ACTION
11                    (Fair Debt Collection Practices Act, FDCPA (15 U.S.C. § 1692-1692o))
                      (Against BANA, MTC FINANCIAL INC. D/B/A TRUSTEE CORPS)
12
                262-313.        Answering Paragraph 262-313 of the FAC, Defendants respond that no
13
14   response is required because the Court granted BANA’s Motion to Dismiss as to this cause of

15   action, and this cause of action was not alleged against MERS. To the extent that a response is
16
     required, Defendants deny each and every allegation contained therein.
17
                                         THIRD CAUSE OF ACTION
18                                               (Defamation)
                                       (Against BANA; MTC; Does #1-10)
19
20              314.     No response is required to FAC ¶314, since it merely is a recitation incorporation

21   by reference the allegations of the preceding paragraphs of Plaintiff’s FAC; however, to the
22
     extent that a response is required, BANA incorporates by reference BANA’s responses to the
23
     preceding paragraphs of this answer to Plaintiff’s FAC.
24
                315.     Answering Paragraph 315 of the FAC, BANA denies each and every allegation
25
26   contained therein.

27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 42
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                316.   Answering Paragraph 316 of the FAC, BANA denies each and every allegation
 1
 2   contained therein.

 3              317.   Answering Paragraph 317 of the FAC, BANA denies each and every allegation
 4
     contained therein.
 5
                318.   Paragraph 318 of the FAC, contains legal conclusions that do not require a
 6
 7   response. To the extent his paragraph requires a response, BANA denies the allegations therein.

 8              319.   Answering Paragraph 319 of the FAC, BANA denies each and every allegation
 9   contained therein.
10
                320.   Answering Paragraph 320 of the FAC, BANA denies each and every allegation
11
     contained therein.
12
13                                    FOURTH CAUSE OF ACTION
                              (Declaratory Judgment (28 U.S.C. § 2201 et seq.))
14                                        (Against All Defendants)
15              321-348.      Answering Paragraph 321-348 of the FAC, Defendants respond that no
16
     response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
17
     action. To the extent that a response is required, Defendants deny each and every allegation
18
19   contained therein.

20                                       FIFTH CAUSE OF ACTION
                                        (Cancellation of Instrument(s))
21                                         (Against All Defendants)
22
                349-357.      Answering Paragraph 349-357 of the FAC, Defendants respond that no
23
     response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
24
25   action. To the extent that a response is required, Defendants deny each and every allegation

26   contained therein.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 43
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                                          SIXTH CAUSE OF ACTION
 1
                                                  (Replevin)
 2                                          (Against All Defendants)

 3              358.    No response is required to FAC ¶358, since it merely is a recitation incorporation
 4   by reference the allegations of the preceding paragraphs of Plaintiff’s FAC; however, to the
 5
     extent that a response is required, Defendants incorporate by reference Defendants’ responses to
 6
     the preceding paragraphs of this answer to Plaintiff’s FAC.
 7
 8              359.    Answering Paragraphs 359-366 of the FAC, Plaintiff’s purported definition of

 9   “the Note” is vague and unidentifiable and thus Defendants are without sufficient information or
10
     knowledge to admit or deny the allegations contained in these paragraphs, and on that basis,
11
     deny them.
12
13                                     SEVENTH CAUSE OF ACTION
                       (Breach of the Implied Covenant of Good Faith and Fair Dealing)
14                                         (Against All Defendants)
15              367-376.       Answering Paragraph 367-376 of the FAC, Defendants respond that no
16
     response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
17
     action. To the extent that a response is required, Defendants deny each and every allegation
18
     contained therein.
19
20                                      EIGHTH CAUSE OF ACTION
                                       (Washington’s Deed of Trust Act)
21                            (Against MERS Defendants, Trustee Corps, BANA)
22
                377-381.       Answering Paragraph 377-381 of the FAC, Defendants respond that no
23
     response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
24
     action. To the extent that a response is required, Defendants deny each and every allegation
25
26   contained therein.

27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 44
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                                        NINTH CAUSE OF ACTION
 1
                                   (Washington’s Consumer Protection Act)
 2                            (Against MERS Defendants, Trustee Corps, BANA)

 3              382-402.       Answering Paragraph 382-402 of the FAC, Defendants respond that no
 4   response is required because the Court granted Defendants’ Motion to Dismiss as to this cause of
 5
     action. To the extent that a response is required, Defendants deny each and every allegation
 6
     contained therein.
 7
 8                                           PRAYER FOR RELIEF

 9              In response to the relief requested in the Prayer, Defendants deny that Plaintiff is entitled
10
     to any of the requested relief for the reasons set forth in this answer and based upon the Court’s
11
     granting of Defendants’ Motion to Dismiss as to the first, second, fourth, fifth, seventh, eighth,
12
13   and ninth causes of action.

14                                        AFFIRMATIVE DEFENSES
15              Having answered the allegations in the FAC, Defendants set forth the following
16
     affirmative defenses. By setting forth these affirmative defenses, Defendants do not assume any
17
     burden of proof as to any fact issue or other element of any cause of action that properly belongs
18
19   to Plaintiff. Further, Defendants reserve the right to amend or supplement the affirmative

20   defenses as discovery or further investigation may justify.
21              1.     Plaintiff fails to state a claim upon which relief may be granted.
22
                2.     Plaintiff’s demand for damages is barred, in whole or in part, because of
23
     Plaintiff’s failure to act reasonably to mitigate the alleged damages.
24
25              3.     The FAC, and each and every cause of action alleged therein, is barred by the

26   doctrine of unclean hands.
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 45
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                4.    The FAC, and each and every purported cause of action alleged therein, is barred
 1
 2   by the doctrine of estoppel due to Plaintiff’s own acts or omissions.

 3              5.    The FAC, and each and every purported cause of action alleged therein, is barred
 4
     by the doctrine of waiver.
 5
                6.    Plaintiff had actual, implied, and/or constructive knowledge of all acts and/or
 6
 7   omissions alleged in the FAC and, while conscious of those acts and/or omissions, Plaintiff gave

 8   express or implied consent to all such alleged acts and/or omissions.
 9              7.    The FAC, and each and every purported cause of action alleged therein, is barred
10
     by Plaintiff’s ratification of the actions allegedly undertaken.
11
                8.    Plaintiff unreasonably delayed in providing notice and in commencing and
12
13   prosecuting this action which caused unfair prejudice to FAC, barring any recovery against

14   Defendants under the equitable doctrine of laches.
15              9.    Plaintiff is not entitled to any recovery from FAC due to Plaintiff’s failure to
16
     comply with the conditions, covenants and promises that he was required to perform under the
17
     alleged agreement.
18
19              10.   The statement(s) that Plaintiff claims were defamatory were substantially true.

20              11.   Plaintiff failed to commence this action within the time required by the applicable
21
     statute of limitations.
22
                12.   Without admitting any of the allegations in the FAC, Defendants allege that the
23
24   injuries and/or damages alleged by Plaintiff were proximately caused by, occurred, and/or were

25   contributed to by Plaintiff’s own acts or failures to act.
26
27
28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 46
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                13.    Defendants assert as an affirmative defense that Plaintiff’s replevin claim is
 1
 2   barred because Plaintiff does not have standing to pursue his claim because the subject debt has

 3   not been fully satisfied, or otherwise paid in full.
 4
                14.    To the extent not set forth herein, Defendants reserve the right to assert additional
 5
     defenses that become available or apparent during discovery and to amend their Answer
 6
 7   accordingly.

 8              WHEREFORE, Defendants request that the Court enter an Order as follows:
 9              1.     The Plaintiff takes nothing by the FAC;
10
                2.     For judgment in Defendants’ favor;
11
                3.     For an award of costs incurred herein to FAC to the fullest extent allowed by
12
13   contract or law;

14              4.     For an award of reasonable attorneys’ fees to the maximum extent allowed by law
15   or contract to Defendants; and
16
                5.     For such other and further relief as the Court deems just and proper.
17
18
                Respectfully submitted this 7th day of February, 2019.
19
20                                            WITHERSPOON • KELLEY
21
                                              s/Daniel J. Gibbons
22                                            Daniel J. Gibbons, WSBA # 33036
                                              djg@witherspoonkelley.com
23                                            422 W. Riverside Ave., Suite 1100
24                                            Spokane, WA 99201-0300
                                              Phone: 509-624-5265
25                                            Fax: 509-458-2728
                                              Attorneys for Defendants Bank of America, N.A.,
26                                            Mortgage Electronic Registration Systems, Inc.; and
27                                            Merscorp Holdings, Inc.

28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 47
     Case No.: 3:17-cv-06064-BHS
     {S1809870; 1 }
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                                      CERTIFICATE OF SERVICE
 1
 2              I hereby certify that on the 7th day of February, 2019,

 3            1.  I caused to be electronically filed the foregoing DEFENDANTS' BANK OF
     AMERICA, N.A. AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.’S
 4
     ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT with the Clerk of the Court
 5   using the CM/ECF System which will send notification of such filing to the following:

 6                     Jeremy Wolfson:        jerwolfson@gmail.com
 7                     Michael S. DeLeo:      mdeleo@prklaw.com
                       Fred B. Burnside:      fredburnside@dwt.com
 8                     Frederick A Haist:     frederickhaist@dwt.com
 9
           2.      I hereby certify that I have mailed by United States Postal Service the foregoing
10   document to the following non-CM/ECF participants at the address listed: None.
11
             3.     I hereby certify that I have mailed by United States Postal Service the document
12   to the following CM/ECF participants at the address listed below: None.
13           4.      I hereby certify that I have hand-delivered the document to the following
14   participants at the addresses listed below: None.

15                                            /s/Daniel J. Gibbons
                                              Daniel J. Gibbons, WSBA # 33036
16                                            djg@witherspoonkelley.com
17                                            WITHERSPOON • KELLEY
                                              422 W. Riverside Ave., Suite 1100
18                                            Spokane, WA 99201-0300
                                              Phone: 509-624-5265
19                                            Fax: 509-458-2728
20                                            Attorneys for Defendants Bank of America, N.A.
                                              Mortgage Electronic Registration Systems, Inc.; and
21                                            Merscorp Holdings, Inc.
22
23
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28
     DEFENDANTS' ANSWER TO PLAINTIFF'S
     FIRST AMENDED COMPLAINT - 48
     Case No.: 3:17-cv-06064-BHS
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                                                           Spokane, Washington 99201-0300        Fax: 509.458.2728
